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    1   NANCY L. STAGG, CA Bar No. 157034
          nstagg@foley.com
    2   FOLEY & LARDNER LLP
        3579 VALLEY CENTRE DRIVE, SUITE 300
    3   SAN DIEGO, CA 92130
        TELEPHONE: 858.847.6700
    4   FACSIMILE: 858.792.6773
    5   Attorneys for Defendant
        WYNDHAM HOTELS AND RESORTS, LLC
    6

    7

    8                               UNITED STATES DISTRICT COURT
    9                            NORTHERN DISTRICT OF CALIFORNIA
  10

  11 JOYCE ROBERTS, individually and on behalf           )   Case No. 12-CV-05083-PSG
     of classes of similarly situated individuals,       )
  12                                                     )   DECLARATION OF NANCY L. STAGG IN
                                            Plaintiff,   )   SUPPORT OF WYNDHAM HOTELS AND
  13                                                     )   RESORTS, LLC’S OPPOSITION TO
                     vs.                                 )   PLAINTIFF’S MOTION FOR CLASS
  14                                                     )   CERTIFICATION
     WYNDHAM INTERNATIONAL, INC.;                        )
  15 WYNDHAM WORLDWIDE OPERATIONS,                       )
     INC.; WYNDHAM HOTELS AND RESORTS,                   )   CLASS ACTION
  16 LLC; and DOES 1 through 10, inclusive,              )
                                                         )   Date:         September 1, 2015
  17                                   Defendants.       )   Time:         10:00 a.m.
                                                         )   Courtroom:    5
  18                                                     )
                                                         )   Judge:        Hon. Paul S. Grewal
  19                                                     )
                                                         )   Complaint Filed:    July 17, 2012
  20                                                     )   FAC Filed:          February 2, 2015
                                                         )
  21                                                     )
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               DECLARATION OF NANCY L. STAGG ISO OPPOSITION TO MOTION FOR CLASS CERT
                                                                Case No. 12-CV-05083-PSG
4820-0220-6756.2
                        Case 3:12-cv-05083-LB Document 77-1 Filed 06/19/15 Page 2 of 5



    1              I, NANCY L. STAGG, declare:
    2              1.       I am an attorney duly licensed to practice law before the courts of the State of California
    3   and admitted to practice in this District. I am a partner of the law firm of Foley & Lardner LLP,
    4   attorneys of record for Defendant Wyndham Hotels and Resorts, LLC (“Defendant” or “WHR”) in this
    5   action. I am the attorney principally responsible for the representation of Defendant. As a result, I have
    6   personal knowledge of the facts set forth in this Declaration. If called to testify to the truth of matters
    7   asserted herein, I could do so truthfully, competently, and of my own personal knowledge.
    8              2.       I submit this declaration in support of Defendant’s Opposition to Plaintiff’s Motion for
    9   Class Certification (“Opposition”).
  10               3.       Attached hereto as Exhibit A are true and correct excerpts from the deposition of
  11    Plaintiff Joyce Roberts, which occurred on May 17, 2013, with relevant portions highlighted for the
  12    Court’s convenience.
  13               4.       Attached hereto as Exhibit B are true and correct excerpts from the deposition of
  14    Plaintiff’s expert Anya Verkhovskaya, which occurred on June 2, 2015, with relevant portions
  15    highlighted for the Court’s convenience. Pursuant to the Parties’ stipulation regarding this deposition,
  16    Verkohvskaya has 30 days to review and sign the deposition transcript, which has not passed as of the
  17    filing of this Opposition, but which will occur before the hearing on Plaintiff’s Motion for Class
  18    Certification. I will file a Supplemental Declaration after the 30 days has elapsed if Verkhovskaya
  19    makes any substantive changes to her deposition testimony that affect the attached excerpts.
  20               5.       Attached hereto as Exhibit C are true and correct excerpts from the deposition of
  21    Plaintiff’s expert Randall Snyder, which occurred on May 29, 2015, with relevant portions highlighted
  22    for the Court’s convenience. Pursuant to the Parties’ stipulation regarding this deposition, Snyder has
  23    30 days to review and sign the deposition transcript, which has not passed as of the filing of this
  24    Opposition, but which will occur before the hearing on Plaintiff’s Motion for Class Certification. I will
  25    file a Supplemental Declaration after the 30 days has elapsed if Snyder makes any substantive changes
  26    to his deposition testimony that affect the attached excerpts.
  27               6.       Attached hereto as Exhibit D is a true and correct copy of the Initial Report and
  28    Declaration of WHR’s Expert Witness David M. Stein, dated April 27, 2015, including his C.V. as

               DECLARATION OF NANCY L. STAGG ISO OPPOSITION TO MOTION FOR CLASS CERT
                                            -1-                 Case No. 12-CV-05083-PSG
4820-0220-6756.2
                        Case 3:12-cv-05083-LB Document 77-1 Filed 06/19/15 Page 3 of 5



    1   Exhibit A to his Initial Report. This Initial Report, plus the Rebuttal Report below at Exhibit E are
    2   submitted as Stein’s Declarations in Support of WHR’s Opposition to Plaintiff’s Motion for Class
    3   Certification.
    4              7.       Attached hereto as Exhibit E is a true and correct copy of the Rebuttal Report and
    5   Declaration of WHR’s Expert Witness David M. Stein, dated May 28, 2015.
    6              8.       Attached hereto as Exhibit F is a true and correct copy of a document produced by
    7   Plaintiff on July 15, 2013, in discovery in this case, Bates stamped ROBERTS-WYNDHAM-0027.
    8              9.       Attached hereto as Exhibit G is a true and correct copy of Defendant’s Written
    9   Responses To Plaintiff’s Second Notice of Deposition of Person Most Knowledgeable dated April 1,
  10    2015.
  11               10.      Attached hereto as Exhibit H is a true and correct copy of the Declaration of Alan
  12    Vasquez, Settlement Claims Administrator, filed in Stone v. Howard Johnson International, Inc., Case
  13    No. 12-cv-1684-PSG (C.D. Cal.).
  14               11.      Attached hereto as Exhibit I is a true and correct copy of the Superior Court’s Order
  15    Denying Class Certification in Coleman v. First American Home Buyers Protection Corporation, Case
  16 No. BC420436, Los Angeles Superior Court (Order dated Aug. 27, 2012).

  17               12.      Attached hereto as Exhibit J is a true and correct copy of Exhibit 4 to the Deposition of
  18    Randall Snyder in this case, taken on May 29, 2015, without exhibits, which is the Declaration of
  19    Randall Snyder in McCabe v. Intercontinental Hotels Group Resources, Inc., et al., Case No. 3:12-cv-
  20    04818-NC (N.D. Cal.), Dkt. No. 80-8.
  21               13.      Attached hereto as Exhibit K is a true and correct copy of excerpts from the Court’s
  22    docket in Shamblin v. Obama For America, Case No. 13-cv-02428-VMC (M.D. Fla.), showing denial of
  23    class certification.
  24               14.      Attached hereto as Exhibit L is a true and correct copy of the District Court’s Order
  25    Granting Motion for Judgment on the Pleadings in Young v. Hilton Worldwide Inc., Case No. 12-cv-
  26 01788-R-(PJWx) (C.D. Cal. July 14, 2014), Dkt. No. 62.

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                DECLARATION OF NANCY L. STAGG ISO OPPOSITION TO MOTION FOR CLASS CERT
                                             -2-                 Case No. 12-CV-05083-PSG
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    1              I declare under penalty of perjury under the laws of the United States of America that the
    2   foregoing is true and correct.
    3              Executed on June 19, 2015, at San Diego, California.
    4                                                      /s/ Nancy L. Stagg
                                                           NANCY L. STAGG
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               DECLARATION OF NANCY L. STAGG ISO OPPOSITION TO MOTION FOR CLASS CERT
                                            -3-                 Case No. 12-CV-05083-PSG
4820-0220-6756.2
                     Case 3:12-cv-05083-LB Document 77-1 Filed 06/19/15 Page 5 of 5



    1                                          CERTIFICATE OF SERVICE
    2              The undersigned hereby certifies that a true and correct copy of the above and foregoing
    3   document has been served on June 19, 2015 to all counsel of record who are deemed to have consented
    4   to electronic service via the Court’s CM/ECF system per Civil Local Rule 5.1.
    5
                                                        /s/ Nancy L. Stagg
    6                                                   Nancy L. Stagg
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               DECLARATION OF NANCY L. STAGG ISO OPPOSITION TO MOTION FOR CLASS CERT
                                            -1-                 Case No. 12-CV-05083-PSG
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     Anya Verkhovskaya                         Roberts vs. Wyndham International, Inc.

·1· · · · · ·IN THE UNITED STATES DISTRICT COURT
·2· · · · · · ·NORTHERN DISTRICT OF CALIFORNIA
·3· ·JOYCE ROBERTS, individually
·4· ·and on behalf of a class of
·5· ·similarly situated individuals,
·6· · · · · · · · · Plaintiff,
·7· · · vs.· · · · · · · · · · · · · · ·Case No.
·8· ·WYNDHAM HOTELS AND RESORTS,· · ·5:12-cv-05083-PSG
·9· ·LLC, and DOES 1 through 10,
10· ·inclusive,
11· · · · · · · · · ·Defendants.
12· ·_______________________________/
13
14
15· · · · VIDEOTAPED DEPOSITION OF ANYA VERKHOVSKAYA
16· · · · · · · · · ·Milwaukee, Wisconsin
17· · · · · · · · · Tuesday, June 2, 2015
18
19
20
21
22· ·Reported By:
23· ·Deborah Habian
24· ·RMR, CRR, CLR, CSR. No. 084-02432
25· ·JOB NO. 10016952


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     Anya Verkhovskaya                         Roberts vs. Wyndham International, Inc.

·1· · · · · ·IN THE UNITED STATES DISTRICT COURT
·2· · · · · · ·NORTHERN DISTRICT OF CALIFORNIA
·3· ·JOYCE ROBERTS, individually
·4· ·and on behalf of a class of
·5· ·similarly situated individuals,
·6· · · · · · · · · Plaintiff,
·7· · · vs.· · · · · · · · · · · · · · ·Case No.
·8· ·WYNDHAM HOTELS AND RESORTS,· · ·5:12-cv-05083-PSG
·9· ·LLC, and DOES 1 through 10,
10· ·inclusive,
11· · · · · · · · · ·Defendants.
12· ·_______________________________/
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17· · · · · · · The videotaped deposition of
18· ·ANYA VERKHOVSKAYA, called by the Plaintiff,
19· ·taken at the offices of Foley & Lardner, LLP,
20· ·777 East Wisconsin Avenue, Milwaukee, Wisconsin,
21· ·beginning at 9:50 a.m. and ending at 11:33 a.m.
22· ·CST on Tuesday, June 2, 2015, before Deborah Habian,
23· ·RMR, CRR, CLR, CSR. No. 084-02432.
24
25


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      Anya Verkhovskaya                              Roberts vs. Wyndham International, Inc.

·1· ·APPEARANCES:

·2· ·For Plaintiff

·3·   ·   ·   ·   ·   ·   ·   KELLER GROVER, LLP
· ·   ·   ·   ·   ·   ·   ·   BY:· ERIC A. GROVER
·4·   ·   ·   ·   ·   ·   ·   · · ·(via teleconference)
· ·   ·   ·   ·   ·   ·   ·   1965 Market Street
·5·   ·   ·   ·   ·   ·   ·   San Francisco, California 94103
· ·   ·   ·   ·   ·   ·   ·   415.543.1305
·6·   ·   ·   ·   ·   ·   ·   415.543.7861 Fax
· ·   ·   ·   ·   ·   ·   ·   eagrover@kellergrover.com
·7

·8· · · · · · · · · ·and

·9·   ·   ·   ·   ·   ·   ·   LAW OFFICES OF SCOT D. BERNSTEIN, APC
· ·   ·   ·   ·   ·   ·   ·   BY:· SCOT BERNSTEIN, ESQ.
10·   ·   ·   ·   ·   ·   ·   101 Parkshore Drive
· ·   ·   ·   ·   ·   ·   ·   Suite 100
11·   ·   ·   ·   ·   ·   ·   Folsom, California 95630
· ·   ·   ·   ·   ·   ·   ·   916.447.0100
12·   ·   ·   ·   ·   ·   ·   916.933.5533
· ·   ·   ·   ·   ·   ·   ·   swampadero@sbernsteinlaw.com
13

14· ·For the Defendant Wyndham Hotels and Resorts, LLC

15·   ·   ·   ·   ·   ·   ·   FOLEY & LARDNER, LLP
· ·   ·   ·   ·   ·   ·   ·   BY:· NANCY L. STAGG, ESQ.
16·   ·   ·   ·   ·   ·   ·   · · · (via teleconference)
· ·   ·   ·   ·   ·   ·   ·   3579 Valley Centre Drive
17·   ·   ·   ·   ·   ·   ·   Suite 300
· ·   ·   ·   ·   ·   ·   ·   San Diego, California 92130-3302
18·   ·   ·   ·   ·   ·   ·   858.847.6700
· ·   ·   ·   ·   ·   ·   ·   858.792.6773 Fax
19·   ·   ·   ·   ·   ·   ·   nstagg@foley.com

20· · · · · · · · · ·and

21·   ·   ·   ·   ·   ·   ·   FOLEY & LARDNER, LLP
· ·   ·   ·   ·   ·   ·   ·   BY:· AARON R. WEGRZYN, ESQ.
22·   ·   ·   ·   ·   ·   ·   777 East Wisconsin Avenue
· ·   ·   ·   ·   ·   ·   ·   Milwaukee, Wisconsin 53202-5306
23·   ·   ·   ·   ·   ·   ·   414.319.7028
· ·   ·   ·   ·   ·   ·   ·   414.297.4900 Fax
24·   ·   ·   ·   ·   ·   ·   awegrzyn@foley.com

25· ·ALSO PRESENT: Marvin Oltman, videographer


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     Anya Verkhovskaya                         Roberts vs. Wyndham International, Inc.

·1· · · · · · · · · · · · ·I N D E X
·2· ·WITNESS· · · · · · · · · · · · · · · · · · EXAMINATION
·3· · ·ANYA VERKHOVSKAYA
·4· · · · · · · · · · · · ·BY MS. STAGG· · · · · · · · · ·6
·5
·6
·7· · · · · · · · · · · · · ·EXHIBITS
·8· ·Defendants'· · · · · · · · · · · · · · · · · · · ·PAGE
·9· ·Exhibit 1· · · ·Declaration of Anya· · · · · · · · · 9
10· · · · · · · · · ·Verkhovskaya of A.B. Data,
11· · · · · · · · · ·Ltd. in Support of Plaintiff's
12· · · · · · · · · ·Motion for Class Certification
13
14· ·Exhibit 2· · · ·Defendant Wyndham Hotels and· · · · 53
15· · · · · · · · · ·Resorts, LLC's Notice of
16· · · · · · · · · ·Taking Videotaped Deposition
17· · · · · · · · · ·of Anya Verkhovskaya of A.B.
18· · · · · · · · · ·Data, Ltd. and Request for
19· · · · · · · · · ·Production of Documents
20
21· ·Exhibit 3· · · ·Documents produced by· · · · · · · ·53
22· · · · · · · · · ·Defendants stated in
23· · · · · · · · · ·Anya Verkhovskaya of
24· · · · · · · · · ·A.B. Data, Ltd.'s
25· · · · · · · · · ·Declaration


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   Anya Verkhovskaya                         Roberts vs. Wyndham International, Inc.

·1· · · · · · THE VIDEOGRAPHER:· The time on the record is
·2· ·9:50 a.m.· Today's date is June 2nd, 2015.· My name is
·3· ·Marvin Oltman of Aptus Court Reporting.· The court
·4· ·reporter today is Donna [sic] Habian, also from Aptus
·5· ·Court Reporting, located at 600 West Broadway,
·6· ·Suite 300, in San Diego, California, 92011.
·7· · · · · · This begins the video recorded deposition of
·8· ·Anya Verhos --
·9· · · · · · THE WITNESS:· Kaya.
10· · · · · · THE VIDEOGRAPHER:· -- Verkhoskaya -- thank
11· ·you -- testifying in the matter of Joyce Roberts vs.
12· ·Wyndham International, Incorporated, et al. pending in
13· ·the U- -- United States District Court for the Northern
14· ·District of California, the case number is 12-cv-05083,
15· ·taken at Foley & Lardner, LLP at 777 East Wash- --
16· ·excuse me -- East Wisconsin Avenue in Milwaukee,
17· ·Wisconsin.
18· · · · · · Will counsel please identify themselves and
19· ·state the parties who they represent.
20· · · · · · MR. BERNSTEIN:· Scot Bernstein for the
21· ·plaintiff.
22· · · · · · MR. WEGRZYN:· Aaron --
23· · · · · · MR. GROVER:· Eric Grover, plaintiff.
24· · · · · · MS. STAGG:· Nancy Stagg of Foley & Lardner on
                                                                                                http://www.yeslaw.net/help




25· ·behalf of the defendant Wyndham Hotel and Resorts, LLC.


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     Anya Verkhovskaya                         Roberts vs. Wyndham International, Inc.

·1· · · · · · · MR. WEGRZYN:· Aaron Wegrzyn present in
·2· · ·Milwaukee on behalf of Wyndham as well.
·3· · · · · · · THE VIDEOGRAPHER:· Will the court reporter
·4· · ·please swear in the witness and then we may proceed.
·5· · · · · · · THE REPORTER:· Raise your right hand.
·6· · · · · · · · · · · · · · ·(Oath administered.)
·7· · · · · · · THE WITNESS:· I do.
·8· · · · · · · THE REPORTER:· Thank you.
·9
10· · · · · · · · · · · ·ANYA VERKHOSKAYA,
11· · called as a witness herein by Defendant, having been
12· ·first duly sworn, was examined and testified as follows:
13· · · · · · · · · · · · · EXAMINATION
14· · ·BY MS. STAGG:
15· · · · ·Q.· ·Good morning, Ms. Verkhoskaya.· I'm Nancy
16· · ·Stagg.· I represent the defendants in this case -- or
17· · ·the defendant in this case, Wyndham Hotel and Resort.
18· · ·Thank you for putting up with our technological issues
19· · ·this morning and I hope to be brief.
20· · · · ·A.· ·Okay.
21· · · · ·Q.· ·First of all, did I say your name correctly?
22· · ·Because I know I hate when people mispronounce my
23· · ·name.
24· · · · ·A.· ·Yes, you did.· Thank you.
                                                                                                  http://www.yeslaw.net/help




25· · · · ·Q.· ·Could you tell me what your educational


                                                                               Page 6
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   Anya Verkhovskaya                         Roberts vs. Wyndham International, Inc.

·1· ·background is?
·2· · · ·A.· ·I have Bachelor's of Science.
·3· · · ·Q.· ·And when did you get a Bachelor of Science?
·4· · · ·A.· ·In '93.
·5· · · ·Q.· ·And from what school or university?
·6· · · ·A.· ·Molloy College.
·7· · · ·Q.· ·Can you spell that?
·8· · · ·A.· ·M-O-L-L-O-Y.
·9· · · ·Q.· ·And where is that school located?
10· · · ·A.· ·On Long Island, New York.
11· · · ·Q.· ·And what was your Bachelor of Science in?
12· ·What was your area of concentration?
13· · · ·A.· ·Nursing.
14· · · ·Q.· ·Since you received that Bachelor of Science
15· ·in 1993, have you had any additional education --
16· ·formal education?
17· · · ·A.· ·No.
18· · · ·Q.· ·Thank you.
19· · · · · · Do you hold any licenses such as a licensed
20· ·private investigator?
21· · · ·A.· ·No.
22· · · ·Q.· ·You understand that you have been put forth
23· ·as an expert witness in this case?
24· · · ·A.· ·That's correct.
                                                                                                http://www.yeslaw.net/help




25· · · ·Q.· ·And I understand that you are the -- if I


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   Anya Verkhovskaya                         Roberts vs. Wyndham International, Inc.

·1· ·understand correctly, the president -- I'm sorry --
·2· ·partner and chief operating officer in A.B. Data,
·3· ·Limited; is that correct?
·4· · · ·A.· ·It is A.B. Data's Class Action
·5· ·Administration Company.
·6· · · ·Q.· ·Thank you.· Have you ever previously been
·7· ·designated as an expert witness on the topic of
·8· ·ascertainability of class members prior to class
·9· ·certification?
10· · · ·A.· ·Yes.
11· · · ·Q.· ·When was that?
12· · · ·A.· ·In the past four years, there were
13· ·approximately twelve instances.
14· · · ·Q.· ·Okay.· And can you -- in those twelve
15· ·instances, have the case issues been involving call
16· ·recording class actions?
17· · · ·A.· ·No.
18· · · ·Q.· ·Can you tell me in those twelve instances
19· ·that you recall where you've been retained as an
20· ·expert witness on ascertainability of class prior to
21· ·class certification, have those all -- cases all been
22· ·on the same subjected subject matter?
23· · · ·A.· ·No.
24· · · ·Q.· ·Can you tell me what the subjects of those
                                                                                                http://www.yeslaw.net/help




25· ·classes were?· In other words, were they TCPA cases,


                                                                             Page 8
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   Anya Verkhovskaya                         Roberts vs. Wyndham International, Inc.

·1· · · · · · Actually, on pages 5 and 6 of my declaration
·2· ·there is a list of cases already identified as such.
·3· · · ·Q.· ·Okay.· All right, so all of those cases that
·4· ·are identified in paragraph 12 of your declaration are
·5· ·cases in which you've provided ex- -- an expert
·6· ·report.· We'll talk about whether or not you actually
·7· ·testified as an expert witness, but in those cases you
·8· ·were asked to give opinions on the ascertainability of
·9· ·the class pre-certification?
10· · · ·A.· ·Correct.
11· · · ·Q.· ·Okay.· Now, in any of those cases identified
12· ·in paragraph 12 of your declaration, was your expert
13· ·opinion challenged by the opposing party, if you know?
14· · · ·A.· ·Yes.
15· · · ·Q.· ·In which cases?
16· · · ·A.· ·(Reviewing document.)
17· · · · · · In Shamblin vs. Obama For America, I believe
18· ·also in Krakauer vs. DISH, and there could be some
19· ·others that I can't recall right knew.
20· · · ·Q.· ·All right.· And do you know whether or not
21· ·your testimony was admitted or stricken in -- in the
22· ·Shamblin vs. Obama case or the Krakauer vs. DISH case
23· ·that you identified?
24· · · ·A.· ·My testimony was admitted in the Shamblin
                                                                                                http://www.yeslaw.net/help




25· ·vs. Obama For America.· In Krakauer, I believe the


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   Anya Verkhovskaya                         Roberts vs. Wyndham International, Inc.

·1· ·decision was not yet made.· And as far as I know, my
·2· ·testimony was never stricken in any of those cases.
·3· · · ·Q.· ·All right.· Did any of those cases result in
·4· ·class certification, if you know?· And let me --
·5· ·actually, let me be clearer.
·6· · · · · · In -- in all of the cases identified in
·7· ·paragraph 12 of your declaration, do you know whether
·8· ·or not classes were ultimately certified?
·9· · · ·A.· ·In Benzion vs. Vivint, the class was
10· ·certified.· (Reviewing document.)
11· · · · · · That's as -- that's all the information that
12· ·I have at this time.
13· · · ·Q.· ·Thank you.
14· · · · · · Would you say that your primary -- well, let
15· ·me strike that.
16· · · · · · Would you say that the primary work that
17· ·A.B. Data Class Action Administration does is
18· ·providing class administrative services after class
19· ·certification?
20· · · ·A.· ·Could you please clarify what you mean by
21· ·"primary"?
22· · · ·Q.· ·Sure.· Would you say that more than 50% of
23· ·A.B. Data's Class Action Administration, more than 50
24· ·percent of its work is providing class administration
                                                                                                http://www.yeslaw.net/help




25· ·after a certification?


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·1· · · ·A.· ·Correct.
·2· · · ·Q.· ·Okay.· Would you say that's more than
·3· ·75 percent of its work?
·4· · · ·A.· ·I have not performed such an analysis.                     I
·5· ·would feel comfortable to say it's more than 50, but
·6· ·I'm not sure whether it's more than 75 percent.
·7· · · ·Q.· ·Okay.· And in the cases in which you're
·8· ·providing class administration services, would you
·9· ·agree that the primary purpose -- well, actually,
10· ·that's not a good question.
11· · · · · · I would say part of the process of the post
12· ·certification class administration is giving notice to
13· ·the identified class members, correct?
14· · · ·A.· ·A part of the process is identifying class
15· ·members and then providing notice to them.
16· · · ·Q.· ·Okay.· Let me ask it this way.· In the cases
17· ·that you have worked on in class administration post
18· ·certification, how much of that experience let's say
19· ·in the last three years has involved actually trying
20· ·to identify who was in the class as opposed to giving
21· ·notice to identified class members?
22· · · ·A.· ·I have not performed this type of analysis.
23· · · ·Q.· ·You haven't made an evaluation as to how
24· ·much work you have done at A.B. Data class
                                                                                                http://www.yeslaw.net/help




25· ·administration and actually trying to identify a class


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·1· ·list and we don't need to identify any of class
·2· ·members.· In FLSA and other labor and employment
·3· ·cases, we always receive a list and we never need to
·4· ·identify class members.
·5· · · · · · I can't really answer your question without
·6· ·knowing which segment of class action administration
·7· ·you're referring to.
·8· · · ·Q.· ·Well, in this case, obviously it involves
·9· ·issues relating to identifying callers in call
10· ·recording cases and you -- you have not done that
11· ·previously, have you, where you had to identify who a
12· ·caller is from phone records pre -- in other words, in
13· ·this case, you're giving an opinion that class members
14· ·in the proposed classes could be identified and
15· ·ascertained for purposes of class certification
16· ·through the methodology that you describe in your
17· ·declaration, correct?
18· · · ·A.· ·Correct.
19· · · ·Q.· ·Okay.· And -- but you have not performed
20· ·that previously, correct?
21· · · ·A.· ·Incorrect.
22· · · ·Q.· ·Okay.· When have you done that?
23· · · ·A.· ·We have performed this type of methodology
24· ·described in the declaration on 50 different cases,
                                                                                                http://www.yeslaw.net/help




25· ·approximately, in the past few years.


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·1· · · ·Q.· ·Okay.· Do you understand that in this case,
·2· ·there is no settlement and you are being proposed
·3· ·to -- you're being proposed as an expert to support a
·4· ·program for ascertaining who is actually in the class?
·5· · · ·A.· ·I do.
·6· · · ·Q.· ·Okay.· And so in this case, is the
·7· ·methodology that you're proposing for identifying
·8· ·class members designed to achieve something more than
·9· ·a 75 percent rate of identification?
10· · · ·A.· ·Correct.
11· · · ·Q.· ·The -- okay.
12· · · ·A.· ·The question -- the question I was answering
13· ·before was not on ascertainability.· It was on notice.
14· · · ·Q.· ·Sure.· Okay.· So in the cases in which
15· ·you're providing notice and not trying to ascertain
16· ·the class, your standard is to design a program to
17· ·reach 75 percent of the identified class?
18· · · ·A.· ·Incorrect.
19· · · ·Q.· ·Okay.· Tell me what's wrong with that.
20· · · ·A.· ·We design a program to reach at least
21· ·75 percent to a hundred percent.
22· · · ·Q.· ·Okay.· And how do you -- how do you measure
23· ·whether or not you've reached that percentage, 75 or
24· ·greater, in those cases?
                                                                                                http://www.yeslaw.net/help




25· · · ·A.· ·There are complex methodologies that have


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·1· ·been approved by the Court on measuring media reach
·2· ·and frequency, plus direct notice reach and frequency,
·3· ·plus social media and other types of notices involved
·4· ·and cumulating it with complex formula that we usually
·5· ·spell out to the -- for the Courts.
·6· · · ·Q.· ·All right.· Now, in these cases, though,
·7· ·you're saying that the industry average is about a 10
·8· ·to 12 percent claims response rate, correct?
·9· · · ·A.· ·Correct.
10· · · ·Q.· ·Okay.· So how is it that you are measuring
11· ·the 75 percent or greater metric that you just
12· ·testified to?· In other, words, if the claims rate is
13· ·10 to 12 percent in most cases and the goal is to
14· ·achieve notice to 75 percent or more of the class,
15· ·what -- what metric of measuring to determine that
16· ·you've achieved that level of notice.· How -- in other
17· ·words, how are you assessing the success of meeting
18· ·that 75 percent or greater notice?
19· · · ·A.· ·If we have a list of a hundred people and we
20· ·mail a hundred notices and none of them return as
21· ·undeliverable, a hundred people and hundred percent of
22· ·our class list have been notified.· Only 10 percent of
23· ·them decide to file a claim, we receive 10 claims.
24· · · ·Q.· ·So that involves mail notice, correct?
                                                                                                http://www.yeslaw.net/help




25· · · ·A.· ·As I stated earlier, it is a formula that


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·1· ·involves media, mailed notice, social media and other
·2· ·methods of notice.
·3· · · ·Q.· ·What are you -- are you relying on in making
·4· ·your assessment that at least 75 percent or more of
·5· ·the class have been notified through the use of social
·6· ·media, for example?· You know, I am just trying to
·7· ·understand how you are measuring that apart from mail
·8· ·notice.
·9· · · ·A.· ·Sure.
10· · · · · · MR. GROVER:· Objection, vague and ambiguous,
11· ·incomplete hypothetical.
12· · · · · · THE WITNESS:· The industry has accepted
13· ·methodologies for measuring how many Facebook clicks
14· ·have been clicked through by how many people, how many
15· ·links were opened, how many views were generated, and
16· ·those analysis have been submitted to a number of
17· ·Courts as part of a number of many social media
18· ·campaigns as part of notice and have been accepted by
19· ·numerous Courts.
20· ·BY MS. STAGG:
21· · · ·Q.· ·Have you yourself ever performed that
22· ·analysis of the methodologies for social media?
23· · · ·A.· ·No.· I'm not a media expert.
24· · · ·Q.· ·Okay.· You're relying on other persons or
                                                                                                http://www.yeslaw.net/help




25· ·other companies to provide that analysis?


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·1· · · ·A.· ·A.B. Data has its own in-house media expert.
·2· ·When we are retained -- actually two.· When we are
·3· ·retained, those expert work -- those experts work on
·4· ·our team to provide their own opinions.
·5· · · ·Q.· ·Okay.· And can you tell me the names of
·6· ·those -- is it more than one person?
·7· · · ·A.· ·Linda Young, Vice President Of Media;
·8· ·Heather Marsh, Vice President Of Digital Media.
·9· · · ·Q.· ·I have the same question for you with regard
10· ·to e-mail notice.· Would you say that's similar?· In
11· ·other words, similar analysis of trying to see e-mails
12· ·that are opened or delivered or not rejected --
13· · · ·A.· ·That's correct.
14· · · ·Q.· ·-- to determine whether the notice has been
15· ·made?
16· · · ·A.· ·That's correct.
17· · · ·Q.· ·Okay.· And then my last question on that
18· ·topic:· With regard to notice by publication through
19· ·-- I'll say print or online as opposed -- as opposed
20· ·to a direct message to someone by e-mail or U.S. mail,
21· ·so I'm talking about publication either in a
22· ·traditional newspaper or -- or what I understand, you
23· ·know, to be typical online notification through
24· ·websites of news organizations, you're familiar with
                                                                                                http://www.yeslaw.net/help




25· ·that type of notice?


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·1· · · ·A.· ·Yes.
·2· · · ·Q.· ·Okay.· How -- in those cases, how are you
·3· ·assessing reach to the class member to achieve that
·4· ·75 percent or greater notice?
·5· · · ·A.· ·Based on the reach and frequency formula.
·6· · · ·Q.· ·Okay.· And can you explain a little bit what
·7· ·that means?
·8· · · ·A.· ·I'm not a media expert.
·9· · · ·Q.· ·Okay.· Would that be Linda Young in your
10· ·organization?
11· · · ·A.· ·That's correct.
12· · · ·Q.· ·Okay.· And possibly Heather Marsh as well?
13· · · ·A.· ·She would be focusing on digital media.
14· · · ·Q.· ·Okay.· All right.· And in reaching that
15· ·75 percent or greater notice class members, are -- is
16· ·that a total based on all of those forms of notice
17· ·that we just discussed, cumu- -- as opposed to each
18· ·segment?· In other words, are you trying to reach
19· ·75 percent or more total through the campaign of
20· ·notice as opposed to each segment or type of notice?
21· · · ·A.· ·Through a campaign of notice.
22· · · ·Q.· ·Okay.· So the 75 percent or greater, you
23· ·know, you may expect more notice, a higher percentage,
24· ·for example, with e-mail or U.S. mail versus
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25· ·publication, correct?


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·1· · · ·A.· ·It depends whether the information is
·2· ·available or needed.· Sometimes --
·3· · · ·Q.· ·Okay.
·4· · · ·A.· ·-- we have a very solid mailing list and no
·5· ·other utili- -- no other methods of notice is
·6· ·utilized.
·7· · · ·Q.· ·Okay.· Thank you for that.
·8· · · · · · Let me change focus a little bit and talk
·9· ·about this case specifically and the work that you
10· ·have performed.
11· · · · · · Can you tell me what work you have done to
12· ·date in the case generally?
13· · · ·A.· ·Prepared a declaration.
14· · · ·Q.· ·Did you -- in your declaration -- because
15· ·I'm trying to keep the deposition short -- have you
16· ·identified all the materials that you reviewed to
17· ·support your opinion in this case?
18· · · ·A.· ·Yes.
19· · · ·Q.· ·Okay.· And I understand Mr. Bernstein has
20· ·produced an e-mail, and I'll take a look at it before
21· ·we end and ask any questions, but I just want to be
22· ·clear, there's nothing else that you have relied upon
23· ·in stating your opinions here today other than what's
24· ·identified in your declaration and possibly this
                                                                                                http://www.yeslaw.net/help




25· ·additional e-mail, correct?


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·1· · · ·A.· ·That's correct.
·2· · · ·Q.· ·Okay.· Did you -- have you performed any --
·3· ·or A.B. Data -- so I say "you" or your company -- have
·4· ·actually done any research on the plaintiff Joyce
·5· ·Roberts in this case?
·6· · · ·A.· ·No.
·7· · · ·Q.· ·Okay.· Have -- so you haven't attempted to
·8· ·determine whether or not the phone numbers that are at
·9· ·issue relating to Miss Roberts link her to those phone
10· ·numbers through any database that A.B. Data would use
11· ·in this case?
12· · · ·A.· ·Correct.
13· · · ·Q.· ·Okay.· Have you tried to test or sample any
14· ·of the telephone numbers at issue in this case to
15· ·determine what results you would get to identify or
16· ·ascertain the class members?
17· · · ·A.· ·No.
18· · · ·Q.· ·Okay.· So your opinion as to the methodology
19· ·that would be used has not been utilized yet in this
20· ·case by A.B. Data?
21· · · ·A.· ·Correct.
22· · · ·Q.· ·Have you reviewed the expert declaration of
23· ·plaintiffs' other experts, Randall Snyder or Thomas
24· ·Ladd?
                                                                                                http://www.yeslaw.net/help




25· · · ·A.· ·No.


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·1· · · ·Q.· ·Now, in this particular case, you are
·2· ·proposing that if given a list of telephone numbers as
·3· ·to the telephone -- the inbound caller who contacted
·4· ·my client, in this case through their call center, you
·5· ·could analyze those call records to identify the class
·6· ·members, correct?
·7· · · ·A.· ·Correct.
·8· · · ·Q.· ·Okay.· Now, in paragraph 9 of your
·9· ·declaration, on page 2, you're talking generally about
10· ·A.B. Data's experience in analyzing call records
11· ·similar to what would be used in this case, correct?
12· · · ·A.· ·Correct.
13· · · ·Q.· ·All right.· And you're testifying in your
14· ·declaration that A.B. Data would have -- would partner
15· ·or regularly partner with data vendors to -- what you
16· ·call data processors in your declaration to provide
17· ·information that would assist in identifying the class
18· ·members in this case, correct?
19· · · ·A.· ·Correct.
20· · · ·Q.· ·All right.· Have you identified a data
21· ·processor or data processors that you intend to use in
22· ·this case if this case is certified?
23· · · ·A.· ·We are currently thinking that the best
24· ·vendor would be LexisNexis, as described in
                                                                                                http://www.yeslaw.net/help




25· ·paragraph... (reviewing document) in paragraph 16.


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·1· ·However, it is possible that after receiving and
·2· ·reviewing the data, we would recommend a different
·3· ·vendor.
·4· · · ·Q.· ·Okay.· Can you explain for me why, at this
·5· ·point in time, you would be inclined to work with
·6· ·LexisNexis?· What about LexisNexis -- so have you
·7· ·chose them or selected them to use in this case?
·8· · · ·A.· ·They are our vendor of choice for this type
·9· ·of data processing.
10· · · ·Q.· ·And why is that?
11· · · ·A.· ·They're easy to use, the turnaround time is
12· ·acceptable to us, their pricing is good and the
13· ·quality of work is acceptable to us.
14· · · ·Q.· ·Okay.· And when you say "quality of work,"
15· ·what do you mean by that?
16· · · ·A.· ·Um... if we submit files that have corrupted
17· ·fields, they pick up the phone and give us a call.
18· ·They're easy to work with.· The data that they produce
19· ·back is easy to read and understand, um...
20· · · ·Q.· ·Anything else?
21· · · ·A.· ·Um... it's one of the databases that we have
22· ·tested in -- extensively and that's all of the
23· ·reasons.
24· · · ·Q.· ·When you say "tested extensively," have you
                                                                                                http://www.yeslaw.net/help




25· ·ever done any analysis of the LexisNexis database to


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·1· ·determine whether the identity of the class members
·2· ·correlates to the phone -- let me strike that.· That's
·3· ·actually not a good question.
·4· · · · · · Do you know how accurate the LexisNexis
·5· ·database is for i- -- linking a person to a phone
·6· ·number?
·7· · · ·A.· ·86 to 97 percent.
·8· · · ·Q.· ·And 86 to 97 percent of -- of what?· What --
·9· ·what -- what is that result?
10· · · ·A.· ·The accuracy of the LexisNexis database
11· ·based on our testing.
12· · · ·Q.· ·Okay.· Accuracy of what?· What's the
13· ·variable?
14· · · ·A.· ·The variable?· There are two variables:
15· ·Cellular versus noncellular and name and address of
16· ·potential class members within a certain time period.
17· · · ·Q.· ·Okay.· So it's cellular or noncellular
18· ·phone, and in your experience with LexisNexis, that is
19· ·86 to 97 percent accurate?
20· · · ·A.· ·Correct.
21· · · ·Q.· ·Okay.· And then the other variable is the --
22· ·now, when you say "the potential class member," what
23· ·is your understanding of what information LexisNexis
24· ·is providing to you?
                                                                                                http://www.yeslaw.net/help




25· · · ·A.· ·Name and address.


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·1· · · ·Q.· ·Okay.· And name and address of?· Of what?
·2· · · ·A.· ·Of a user of that particular phone within a
·3· ·certain time frame.
·4· · · ·Q.· ·When you say "user of a particular phone,"
·5· ·what do you mean by that?
·6· · · ·A.· ·Subscriber.
·7· · · ·Q.· ·Subscriber.· So it's the person who owns or
·8· ·subscribes to the service connected to that telephone
·9· ·number?
10· · · ·A.· ·If that's what we are asking them to provide
11· ·to us, yes.
12· · · ·Q.· ·Okay.· In any cases that you have worked on,
13· ·have you asked them to identify the specific caller
14· ·versus the subscriber or owner?
15· · · ·A.· ·They can provide a list of potential users,
16· ·but they have no means to know who actually made the
17· ·phone call.
18· · · ·Q.· ·What's your understanding of what the
19· ·potential users are?
20· · · ·A.· ·Family plans, friends and family.· There are
21· ·many criteria that could be used.
22· · · ·Q.· ·Okay.· So these are people who are somehow
23· ·on the subscriber's account linked to the account?· Is
24· ·that your understanding?
                                                                                                http://www.yeslaw.net/help




25· · · ·A.· ·If that's what we ask for, they have that


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·1· ·service as well.
·2· · · ·Q.· ·Okay.· So that would be some additional
·3· ·level of research that LexisNexis would have to do?
·4· · · ·A.· ·Correct.
·5· · · ·Q.· ·Okay.· And do you attribute that same level
·6· ·of 86 to 90 percent accuracy as to that second
·7· ·variable, the name and address of the subscriber or
·8· ·owner?
·9· · · ·A.· ·86 to 97 relates to the subscriber
10· ·information, not to friends and family.
11· · · ·Q.· ·Okay.· And friends and family, do you have a
12· ·different understanding of the level of accuracy as to
13· ·that particular data point?
14· · · ·A.· ·I don't have a level of understanding.
15· · · ·Q.· ·Okay.· None whatsoever?
16· · · ·A.· ·Not for that level of service.
17· · · ·Q.· ·Okay.· You have -- and again, so you would
18· ·agree, though, that you believe less -- LexisNexis is
19· ·providing 86 to 90 percent level of accuracy as to the
20· ·name and address of the subscriber?
21· · · ·A.· ·97 --
22· · · · · · MR. GROVER:· Objection, misstated the
23· ·statistic.
24· · · · · · MS. STAGG:· I didn't -- I'm sorry, go ahead.
25· · · · · · I -- I didn't hear what Eric said.


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·1· · · · · · MR. GROVER:· I said:· I believe you misstated
·2· ·the statistic in your question.
·3· · · · · · MS. STAGG:· Okay.· Let me rephrase then.
·4· ·BY MS. STAGG:
·5· · · ·Q.· ·Well, let me ask it this way:· What level of
·6· ·accuracy, if any, do you ascribe to LexisNexis'
·7· ·results for that second variable, name and address of
·8· ·subscriber?
·9· · · ·A.· ·86 to 97 percent.
10· · · ·Q.· ·And what do you base that statistic on, your
11· ·own analysis of the results, or an industry standard?
12· · · · · · MR. GROVER:· Objection, compound.
13· · · · · · THE WITNESS:· Our own analysis of results.
14· ·BY MS. STAGG:
15· · · ·Q.· ·Okay.· And what analysis do you do to verify
16· ·that level of accuracy?
17· · · ·A.· ·We submit a list of known subscribers and
18· ·compare the results.
19· · · ·Q.· ·So your -- your level -- the level of
20· ·accuracy relates to information you already have?· I'm
21· ·not sure I understand.
22· · · ·A.· ·We have a list of phone numbers.· We
23· ·research and understand who the subscribers were and
24· ·their addresses.· Then, we ran that list against
25· ·LexisNexis database, come up with the results and


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·1· ·compare the results to the actuals.
·2· · · ·Q.· ·All right.· So you're -- you've done that
·3· ·how many times?
·4· · · ·A.· ·We do this few times a year, going back
·5· ·three years.
·6· · · ·Q.· ·Okay.· When you say a "few times a year,"
·7· ·what do you mean?
·8· · · ·A.· ·Um, every three to five months we try to run
·9· ·that test.
10· · · ·Q.· ·Okay.· And how big is the sample?
11· · · ·A.· ·It varies from a hundred to a few hundred
12· ·records.
13· · · ·Q.· ·And where are you getting the information
14· ·about the list of known subscribers that you're --
15· · · · · · THE REPORTER:· I'm sorry, I didn't hear the
16· ·end of your question, Counsel, about the list of known
17· ·subscribers.
18· ·BY MS. STAGG:
19· · · ·Q.· ·Yeah, let me restate.
20· · · · · · Where are you getting the list of known
21· ·subscribers that you're testing against the LexisNexis
22· ·database?
23· · · ·A.· ·Research, friends and family, company
24· ·employees, volunteers.
25· · · ·Q.· ·And do you do that yourself?


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·1· · · ·A.· ·No.
·2· · · ·Q.· ·Okay.· Who at A.B. Data compiles that list
·3· ·that you're referring to?
·4· · · ·A.· ·I work with several individuals, but the
·5· ·person who oversees that process is Christina Peters.
·6· · · ·Q.· ·Okay.· And so you test this list of known
·7· ·subscribers -- and are these all -- what types of
·8· ·telephones are these?· All cellular?· Cellular land
·9· ·line?· Cordless?
10· · · ·A.· ·It varies.· All across the board.
11· · · ·Q.· ·And then you are comparing what you know to
12· ·be accurate subscribers linked to certain phone
13· ·numbers, correct?
14· · · ·A.· ·Correct.
15· · · ·Q.· ·Okay.· And then now you're running it in the
16· ·LexisNexis database to determine how accurate their
17· ·results are, correct?
18· · · ·A.· ·Correct.
19· · · ·Q.· ·All right.· And that's where you're seeing
20· ·an 86 to 90 percent level of accuracy?
21· · · · · · MR. BERNSTEIN:· That misstates the numbers.
22· ·BY MS. STAGG:
23· · · ·Q.· ·I'm sorry, 86 to 97 percent level of
24· ·accuracy?
25· · · ·A.· ·That's correct.


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·1· · · ·Q.· ·Okay.· And why had -- did you start doing
·2· ·this in the last several years?
·3· · · ·A.· ·I started doing it out of my own curiosity,
·4· ·and then it seemed that our clients have been asking
·5· ·that question, so we continued doing it.
·6· · · ·Q.· ·Okay.· Have you ever done it for the
·7· ·March 2011 to the March 2012 time frame?
·8· · · ·A.· ·I don't know.
·9· · · ·Q.· ·Okay.· In other words, do you recall making
10· ·any determination about how reliable the LexisNexis
11· ·database is currently to review subscribers -- to
12· ·identify subscribers of certain telephone numbers
13· ·during that March 1st, 2011 through March 23, 2012
14· ·time frame that's at issue in this case?
15· · · ·A.· ·I don't know.
16· · · ·Q.· ·Okay.· Do you have any understanding as to
17· ·how accurate the LexisNexis database is for that
18· ·period of time?
19· · · ·A.· ·I see no reason why it would vary.
20· · · ·Q.· ·Apart from that comparison process that you
21· ·just described with regard to -- oh, let me ask this:
22· ·Have you ever done that same type of comparison
23· ·analysis for any of the other data processor companies
24· ·that you have used?
25· · · ·A.· ·No.


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·1· · · ·Q.· ·Do you have any personal understanding as to
·2· ·how the information that LexisNexis has in its
·3· ·database is acquired?
·4· · · ·A.· ·Yes.
·5· · · ·Q.· ·Can you tell me what that is?
·6· · · ·A.· ·Since 19 -- late 1930's, I believe,
·7· ·LexisNexis is compiling data from a variety of public
·8· ·and private sources linked by its proprietary linking
·9· ·methodology.
10· · · ·Q.· ·Do you know anything about their proprietary
11· ·linking methodology?
12· · · ·A.· ·I know it exists and it links individuals
13· ·and records in certain ways to allow -- run various
14· ·complex queries.· That's all I know.
15· · · ·Q.· ·And apart from the testing that A.B. Data
16· ·company has done of those samples over the last few
17· ·years as you just described, has A.B. Data done any
18· ·additional analysis of the accuracy of LexisNexis'
19· ·records to identify a telephone caller based on a
20· ·telephone number?
21· · · ·A.· ·No.
22· · · ·Q.· ·Now, in paragraph 17 of your declaration,
23· ·you've described a process to, as you say, "report for
24· ·a given telephone number an overview of ownership
                                                                                                http://www.yeslaw.net/help




25· ·records dating back at least ten years."· Do you see


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·1· ·that?
·2· · · ·A.· ·Yes.
·3· · · ·Q.· ·Okay.· And your -- your methodology that's
·4· ·being proposed here would be used to identify the
·5· ·owner, or as you testified earlier, the subscriber for
·6· ·a particular telephone number, correct?
·7· · · ·A.· ·Correct.
·8· · · ·Q.· ·Is there anything in your process that would
·9· ·lead to identifying a specific caller or user of --
10· ·well, let me -- let me try it this way:· Is there
11· ·anything in your process that will identify through
12· ·records as opposed to self-identification?· So let's
13· ·exclude self-identification for the moment.· We'll get
14· ·back to that.
15· · · · · · Is there anything in your process that will
16· ·actually identify who called Wyndham based on the
17· ·telephone number that may be provided in this case?
18· · · ·A.· ·No.
19· · · ·Q.· ·So your opinion is that it's possible to
20· ·identify who the owner or subscriber is of that
21· ·telephone number account if given a telephone number,
22· ·correct?
23· · · ·A.· ·Well, partially correct.
24· · · ·Q.· ·Okay.· Tell me what I said that's wrong.
                                                                                                http://www.yeslaw.net/help




25· · · ·A.· ·In your previous question, you excluded


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·1· ·self-identification.
·2· · · ·Q.· ·Right.· Right.· So at the end of the day,
·3· ·your methodology relies in reaching out to the owner
·4· ·or subscriber of the telephone account to provide
·5· ·notice about the case, correct?
·6· · · ·A.· ·Well, if that's what's decided within a
·7· ·certain time frame by the Court.
·8· · · ·Q.· ·Sure.· In other words, your process that
·9· ·you're proposing would lead to -- if it is as accurate
10· ·as you believe it to be based on your experience,
11· ·would lead to the owner or subscriber of the telephone
12· ·number that's at issue but not the -- but not
13· ·necessarily the identity of the caller?
14· · · ·A.· ·That's correct.
15· · · ·Q.· ·Okay.· And have you ever done any analysis
16· ·in any case to determine how close -- well, again, let
17· ·me -- let me ask a different question.
18· · · · · · Have you done any analysis to determine how
19· ·likely it is that the subscriber or owner of a
20· ·telephone number is a caller on a given call?
21· · · ·A.· ·No.
22· · · ·Q.· ·Now, in connection with the cordless class
23· ·proposed here, you've identified, in paragraph 26
24· ·through 27 of your declaration, a process to
25· ·coordinate self-identification of cordless telephone


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·1· · · ·A.· ·Yes.
·2· · · ·Q.· ·And what's that?
·3· · · ·A.· ·70 percent.
·4· · · ·Q.· ·Okay.· So it -- you would say it's the same
·5· ·as the outreach campaign that you're identifying here?
·6· · · ·A.· ·It is.· The class is California residents of
·7· ·18 years of age or older, includes -- it's
·8· ·overinclusive class, but it includes potential class
·9· ·members.
10· · · ·Q.· ·What do you mean by "overinclusive class"?
11· · · ·A.· ·This outreach campaign would have a reach of
12· ·70 percent of adults 18 years of age or older in
13· ·California, which means that 70 percent of California
14· ·adults 18 years of age or older would be exposed.· So
15· ·that means that 70 percent of potential class members,
16· ·plus others who are 18 years of age or older in
17· ·California will be exposed as well to that notice.
18· · · ·Q.· ·Okay.· And so you -- you believe that that
19· ·particular aspect of the program would actually
20· ·identify more than the proposed class members?
21· · · · · · MR. GROVER:· Objection to the use of the word
22· ·"identify" when the witness is describing exposure.
23· ·BY MS. STAGG:
24· · · ·Q.· ·Okay.· So it's not -- it's just the
                                                                                                http://www.yeslaw.net/help




25· ·70 percent would just be exposing the general public


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·1· ·to information about the class, but it's not
·2· ·necessarily designed to identify that same level of
·3· ·class members?
·4· · · ·A.· ·The additional outreach includes
·5· ·supplemental methodologies for informing the class.
·6· · · ·Q.· ·But in this case, you're tasked with
·7· ·identifying the class.· So in your mind, is there any
·8· ·difference?
·9· · · ·A.· ·Yes.· If this additional outreach is used,
10· ·that would result in 70 percent of exposure and then
11· ·followed up by self-identification of potential class
12· ·members.
13· · · ·Q.· ·I'm going to try to finish up here brief- --
14· ·in a minute.
15· · · · · · Do you agree that your proposed methodology
16· ·in this case could lead to including people who should
17· ·not be included in the class?
18· · · · · · MR. GROVER:· Objection, vague and ambiguous.
19· · · · · · THE WITNESS:· Could you read that question,
20· ·please, one more time?
21· · · · · · THE REPORTER:· Sure.
22· · · · · · · · · · · · · ·(Record read.)
23· · · · · · MR. GROVER:· Again, objection.· I don't
24· ·understand -- I don't understand the question.· I don't
                                                                                                http://www.yeslaw.net/help




25· ·know if the witness does.


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·1· · · · · · THE WITNESS:· Could you please clarify?· What
·2· ·do you mean by "include"?
·3· ·BY MS. STAGG:
·4· · · ·Q.· ·Sure.· In this case you are proposing a
·5· ·methodology that would include self-identification
·6· ·with regard to the cordless class, correct?
·7· · · ·A.· ·Correct.
·8· · · ·Q.· ·Okay.· And you -- you agree with me, you're
·9· ·not aware of a database that would allow us to
10· ·identify who a cordless -- who is using a cordless
11· ·telephone, correct?
12· · · ·A.· ·Correct.
13· · · ·Q.· ·Okay.· So the database, as you testified
14· ·earlier, based on your experience, can be identified
15· ·by cellular versus noncellular, correct?
16· · · ·A.· ·Correct.
17· · · ·Q.· ·Okay.· But they can't be identified land
18· ·line versus cordless or cellular versus cordless,
19· ·correct?
20· · · ·A.· ·Not completely.
21· · · ·Q.· ·Okay.· What do you mean?
22· · · ·A.· ·Well, cordless is a land line.
23· · · ·Q.· ·Yeah.· I'm -- I'm sorry.· What I mean is,
24· ·you cannot distinguish past a land line in the data
                                                                                                http://www.yeslaw.net/help




25· ·process or databases that you use, correct?


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·1· · · ·A.· ·Correct.
·2· · · ·Q.· ·Okay.· And so from the databases that you
·3· ·have available to you, you cannot ascertain who a
·4· ·cordless telephone user is?
·5· · · ·A.· ·Correct.
·6· · · ·Q.· ·So to do that, you would have to give notice
·7· ·to the land line owners or subscribers from those
·8· ·databases and then have them self-identify as to
·9· ·whether or not they used a cordless phone?
10· · · ·A.· ·Correct, with the exception of the term
11· ·"notice."· It could be a survey.
12· · · ·Q.· ·Sure.· I'm using that as a general term, not
13· ·necessarily a legal term.
14· · · · · · But the point is, the individual would have
15· ·to self-identify into the cordless class, correct?
16· · · ·A.· ·Correct.
17· · · ·Q.· ·And what methodology or process, if any, are
18· ·you proposing --
19· · · · · · (Cell phone ringing.)
20· · · · · · MS. STAGG:· Ooh, that's ugly.
21· · · · · · MR. BERNSTEIN:· Sorry.
22· · · · · · MR. GROVER:· That means time's up.
23· · · · · · MS. STAGG:· Almost, almost.
24· ·BY MS. STAGG:
                                                                                                http://www.yeslaw.net/help




25· · · ·Q.· ·What -- let's go back.


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·1· · · · · · What methodology or process are you
·2· ·proposing, if any, to verify whether the persons who
·3· ·self-identify into the cordless class are properly in
·4· ·the class?
·5· · · ·A.· ·Whatever counsel, both sides, will agree
·6· ·upon.
·7· · · ·Q.· ·Okay.· Anything else?
·8· · · ·A.· ·No.
·9· · · ·Q.· ·All right.· Is there anything in your --
10· ·that you're aware of that you, A.B. Data, can access
11· ·through the data processors that would provide the
12· ·physical location of the caller at the time the call
13· ·was made to defendant in this case?
14· · · · · · MR. GROVER:· Call -- any caller or cell
15· ·callers?
16· ·BY MS. STAGG:
17· · · ·Q.· ·Well, let's start -- there's a cellular
18· ·class in this case, correct?
19· · · ·A.· ·Correct.
20· · · ·Q.· ·Okay.· Focusing on this cellular class or
21· ·proposed class, is there any information that A.B.
22· ·Data can obtain directly or through the data
23· ·processors that will allow A.B. Data to identify the
24· ·physical location of the cellular caller when they
                                                                                                http://www.yeslaw.net/help




25· ·called defendants?


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·1· · · ·A.· ·Yes.
·2· · · ·Q.· ·What is that?
·3· · · ·A.· ·If the Court issues a subpoena to cellular
·4· ·companies to provide that information.
·5· · · ·Q.· ·Okay.· And that -- that would be the only
·6· ·way that you would understand that physical location
·7· ·variable to be available to A.B. Data?
·8· · · ·A.· ·I don't know if other methods are available
·9· ·through the government agencies.· I'm not aware of the
10· ·methods they use, but they do use those methods in
11· ·criminal investigations.
12· · · · · · THE WITNESS:· Nancy, hello?
13· · · · · · MR. BERNSTEIN:· Nancy, are -- are you able to
14· ·hear us?
15· · · · · · MR. GROVER:· I'm here.
16· · · · · · MR. BERNSTEIN:· And it looks like Nancy's
17· ·dialing a phone.
18· · · · · · MR. GROVER:· Okay.· We'll just wait for her
19· ·to pop back up.
20· · · · · · MS. STAGG:· Hi, it's Nancy.
21· · · · · · MR. BERNSTEIN:· Who?
22· · · · · · MR. GROVER:· We just had it wrapped up.
23· · · · · · MS. STAGG:· Yeah, I figured.
24· · · · · · For whatever reason, my phone just died.· So
                                                                                                http://www.yeslaw.net/help




25· ·I have to redial in.· Can you hear me okay.


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·1· · · · · · · THE WITNESS:· Yes.
·2· · · · · · · MR. GROVER:· Yes.
·3· · · · · · · MR. BERNSTEIN:· Actually, this is probably
·4· · ·the best you've sounded.
·5· · · · · · · MS. STAGG:· Could I just have the court
·6· · ·reporter read back Miss Verkhoskaya's response to my
·7· · ·last question and we'll pick up there?
·8· · · · · · · THE REPORTER:· Sure.· Last question...
·9· · · · · · · · · ·(Record read as follows:
10· · · · "Q.· And that would be the only way that you would
11· ·understand that physical location variable to be
12· ·available to A.B. Data?
13· · · · ·A.· ·I don't know if other methods are available
14· · ·through the government agencies.· I'm not aware of the
15· · ·methods they use, but they do use those methods in
16· · ·criminal investigations.")
17· · · · · · · MS. STAGG:· Okay.· Thank you.
18· · · · · · · THE REPORTER:· You're welcome.
19· · ·BY MS. STAGG:
20· · · · ·Q.· ·Have you ever obtained those types of
21· · ·records from a subpoena to a telephone company in any
22· · ·other class action?
23· · · · ·A.· ·No.
24· · · · ·Q.· ·I know that you have provided --
                                                                                                http://www.yeslaw.net/help




25· · · · · · · MS. STAGG:· Let me do this:· Because I'm near


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·1· · · ·I, the undersigned, a Certified Shorthand Reporter

·2· ·of the State of Illinois, do hereby certify:

·3· · · · · · ·That the foregoing proceedings were taken

·4· ·before me at the time and place herein set forth; that

·5· ·any witnesses in the foregoing proceedings, prior to

·6· ·testifying were duly sworn; that a record of the

·7· ·proceedings was made by me using machine shorthand,

·8· ·which was thereafter transcribed under my direction;

·9· ·that the foregoing transcript is a true record of the

10· ·testimony given.

11· · · ·Further, that if the foregoing pertains to the

12· ·original transcript of a deposition in a federal case,

13· ·before completion of the proceedings, review of the

14· ·transcript [X] was [ ]· was not requested.

15

16· · · · · · ·I further certify I am neither financially

17· ·interested in the action nor a relative or employee of

18· ·any attorney or party to this action.

19· · · · · · ·IN WITNESS WHEREOF, I have this date

20· ·subscribed my name.

21

22· ·Dated: June 11, 2015

23

24· · · · · · · · ·___________________________________
· · · · · · · · · ·Deborah Habian
25· · · · · · · · ·RMR, CRR, CLR, CSR. No. 084-02432


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·1· · · · · · DECLARATION UNDER PENALTY OF PERJURY
·2· ·Case Name: Roberts vs. Wyndham International, Inc.
·3· ·Date of Deposition: 06/02/2015
·4· ·Job No.: 10016952
·5
·6· · · · · · · · ·I, ANYA VERKHOVSKAYA, hereby certify
·7· ·under penalty of perjury under the laws of the State of
·8· ·________________ that the foregoing is true and correct.
·9· · · · · · · · ·Executed this ______ day of
10· ·__________________, 2015, at ____________________.
11
12
13· · · · · · · · · · · · ·_________________________________
14· · · · · · · · · · · · · · · · ANYA VERKHOVSKAYA
15
16· ·NOTARIZATION (If Required)
17· ·State of ________________
18· ·County of _______________
19· ·Subscribed and sworn to (or affirmed) before me on
20· ·this _____ day of ____________, 20__,
21· ·by________________________,· · proved to me on the
22· ·basis of satisfactory evidence to be the person
23· ·who appeared before me.
24· ·Signature: ______________________________ (Seal)
25


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·1· ·DEPOSITION ERRATA SHEET

·2·   ·Case Name: Roberts vs. Wyndham International, Inc.
· ·   ·Name of Witness: Anya Verkhovskaya
·3·   ·Date of Deposition: 06/02/2015
· ·   ·Job No.: 10016952
·4·   ·Reason Codes:· 1. To clarify the record.
· ·   · · · · · · · · 2. To conform to the facts.
·5·   · · · · · · · · 3. To correct transcription errors.

·6· ·Page _____ Line ______ Reason ______

·7· ·From _______________________ to ________________________

·8· ·Page _____ Line ______ Reason ______

·9· ·From _______________________ to ________________________

10· ·Page _____ Line ______ Reason ______

11· ·From _______________________ to ________________________

12· ·Page _____ Line ______ Reason ______

13· ·From _______________________ to ________________________

14· ·Page _____ Line ______ Reason ______

15· ·From _______________________ to ________________________

16· ·Page _____ Line ______ Reason ______

17· ·From _______________________ to ________________________

18· ·Page _____ Line ______ Reason ______

19· ·From _______________________ to ________________________

20· ·Page _____ Line ______ Reason ______

21· ·From _______________________ to ________________________

22· ·Page _____ Line ______ Reason ______

23· ·From _______________________ to ________________________

24· ·Page _____ Line ______ Reason ______

25· ·From _______________________ to ________________________


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·1· ·DEPOSITION ERRATA SHEET

·2· ·Page _____ Line ______ Reason ______

·3· ·From _______________________ to ________________________

·4· ·Page _____ Line ______ Reason ______

·5· ·From _______________________ to ________________________

·6· ·Page _____ Line ______ Reason ______

·7· ·From _______________________ to ________________________

·8· ·Page _____ Line ______ Reason ______

·9· ·From _______________________ to ________________________

10· ·Page _____ Line ______ Reason ______

11· ·From _______________________ to ________________________

12· ·Page _____ Line ______ Reason ______

13· ·From _______________________ to ________________________

14· ·Page _____ Line ______ Reason ______

15· ·From _______________________ to ________________________

16· ·Page _____ Line ______ Reason ______

17· ·From _______________________ to ________________________

18· ·Page _____ Line ______ Reason ______

19· ·From _______________________ to ________________________

20· ·Page _____ Line ______ Reason ______

21· ·From _______________________ to ________________________

22·   ·_______ Subject to the above changes, I certify that the
· ·   · · · · ·transcript is true and correct
23·   ·_______ No changes have been made. I certify that the
· ·   · · · · ·transcript· is true and correct.
24
· ·   · · · · · · · ·_____________________________________
25·   · · · · · · · · · · · · ANYA VERKHOVSKAYA


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